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 8                  IN THE UNITED STATES DISTRICT COURT
 9              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 Criminal Case No. 19-CR-1849-WQH
12                            Plaintiff,       ORDER
13
                       V.
14
     DANIEL HECTOR MACKINNON
15
     AKA DANIEL PATRICK SHELLEY,
16
17                            Defendant.

18
19         No objections having been filed, IT IS ORDERED that the Findings and
20   Recommendation of the Magistrate Judge are adopted and this Court accepts
21   Defendant’s PLEA OF GUILTY to Count(s) One (1) of the Indictment .
22
23   Dated: July 24, 2019
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